UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


  In re:                                                  Chapter 11

  FTX TRADING LTD., et al.,                               No. 22-11068 (JTD)

                         Debtors                          (Jointly Administered)


                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY

       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
evidence and notice.

 Name of Transferor:                                   Name of Transferee:

 Name (Redacted)                                       Cherokee Debt Acquisition, LLC

 Name and Current Address of                           Name and Address where notices and payments
 Transferor:                                           to transferee should be sent:
 Name (Redacted)                                       Cherokee Debt Acquisition, LLC
                                                       1384 Broadway, Suite 906
                                                       New York, NY 10018

  Schedule/Claim No.         Creditor Name           Amount                  Debtor              Case No.
 Unique Customer Code:       Name (Redacted)        as stated on         FTX Trading Ltd.        22-11068
       01673850                                     Schedule F
                                                      (below)

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.


By: _____________________                                              Date: April 12, 2023
Transferee/Transferee’s Agent
Your Unique Customer Code is 01673850

Your claim(s) were scheduled on the Schedules and Statements of FTX Trading Ltd. as:



BTC[0.0000000092654560]

ETH[0.1507172556924793]

FTT[0.0000000058596771]

LINK[0.0000000052425375]

LUNA2[0.7187318312000000]

LUNA2_LOCKED[1.6770409390000000]

LUNC[0.0000000049000000]

TRX[0.0007770087800000]

USD[0.0000000209939122]

USDT[52039.4337090437771853]
                                      Identity of Transferor


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
